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                                                                                 5/28/2014
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                              UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF NEW JERSEY

     In re:
                                                   Case No. 14-13436 (CMG)
     GARY W. MORRISON and MICHELE
     MORRISON,                                     Honorable Christine M. Gravelle
                    Debtors.
                                                   Chapter 7


                                 ORDER REVISING ORDER
                         CONVERTING DEBTORS’ CASE TO CHAPTER 13

              The relief set forth on the following pages, numbered two (2), is hereby ORDERED.




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Debtors:            Gary W. Morrison and Michele Morrison
Case No.:           14-13436 (CMG)

Caption of Order:   Order Revising Order Converting Debtors’ Case to Chapter 13


            THIS MATTER having been opened to the Court upon the motion of the debtors, Gary

W. Morrison and Michele Morrison (the “Debtors”), to convert her Chapter 7 case to Chapter 13

(the “Motion”); and the Court having considered the response to the Motion submitted by Peggy

E. Stalford, Chapter 7 Trustee for the Debtor (the “Chapter 7 Trustee”); upon the record herein,

after due deliberation thereon, good and sufficient cause exists for the granting of the relief as set

forth herein;

            IT IS ORDERED that this Order amends, supplements, and revises the Court’s previous

order titled Order to Convert from Chapter 7 to Chapter 13 and for Disgorgement of Attorneys

Fees (Docket No. 42) (the “First Order to Convert”). Unless otherwise noted herein, the terms

of the First Order to Convert will remain in force; and it is further

            IT IS ORDERED that the Debtors’ bankruptcy case be and hereby is converted from

Chapter 7 to Chapter 13; and it is further

            ORDERED that the Chapter 7 Trustee and her professionals may file proofs of claim in

the Debtors’ converted case.

            ORDERED that in the event that the Debtors are unsuccessful in confirming or

completing a Chapter 13 plan of reorganization, the Debtors’ case shall not be dismissed without

further review of this Bankruptcy Court, and such review shall not be limited to section 706 of

the Bankruptcy Code.




                                                                                  Approved by Judge Christine M. Gravelle May 28, 2014
